                Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 1 of 8




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       Technology policy for a world of skew-distributed outcomes
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Abstract

   This paper draws implications for technology policy from evidence on the size distribution of returns from eight sets of
data on inventions and innovations attributable to private sector firms and universities. The distributions are all highly skew;
the top 10% of sample members captured from 48 to 93 percent of total sample returns. It follows that programs seeking to
advance technology should not be judged negatively if they lead to numerous economic failures; rather, emphasis should be
placed on the relatively few big successes. To achieve noteworthy success with appreciable confidence, a sizeable array of
projects must often be supported. The outcome distributions are sufficiently skewed that, even with large numbers of
projects, it is not possible to diversify away substantial residual variability through portfolio strategies. q 2000 Elsevier
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Keywords Innovation; Risk; Skewness; Portfolio strategies




   During the past several years the authors have                      tion properties of the returns from invention and
been compiling data on the size distribution of finan-                 innovation. Drawing upon a small sample survey of
cial returns within samples of significant technologi-                 US patents, co-author Scherer Ž1965. Žp. 1098. dis-
cal innovations. Our uniform finding is that the                       covered a distribution of estimated profits from
returns are skew-distributed. Most innovations yield                   patented inventions so skew that ‘‘patent statistics
modest returns, but the size distribution has a long                   are likely to measure run-of-the-mill industrial inven-
thin tail encompassing a relatively few innovations                    tive output much more accurately than they reflect
with particularly high returns. In this paper, we                      the occasional strategic inventions which open up
review earlier research, summarize our new evi-                        new markets and new technologies. The latter must
dence, and suggest implications for technology pol-                    probably remain the domain of economic historians.’’
icy.                                                                   A second line of investigation differentiated the value
                                                                       of patents by the time when their holders chose not
                                                                       to pay the annual renewal fees imposed in some
1. Prior research                                                      nations. The pioneering article in this tradition, over-
   Until recently there has been relatively little sys-                looked by subsequent investigators, was by Dernburg
tematic empirical research on the statistical distribu-                and Gharrity Ž1961–1962.. Leading examples of later
                                                                       investigations using more powerful econometric
                                                                       techniques include Pakes and Schankerman Ž1984.,
  )
      Corresponding author.                                            Pakes Ž1986., Schankerman and Pakes Ž1986., and

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                Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 2 of 8
560                                    F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566

Lanjou et al. Ž1996.. These studies confirmed that
the size distribution of patent values is indeed quite
skew, most likely conforming either to a log normal
or Paretian distribution law. A third line of research
by Grabowski and Vernon Ž1990; 1994. used the
particularly rich data available on sales of individual
ethical drugs throughout the world to estimate the
distribution of profits Žor more exactly, quasi-rents.
attained by samples of new drugs approved by the
US Food and Drug Administration ŽFDA.. Again, a
skew distribution was found, leading inter alia to the
conclusion that heavy-handed price controls could
jeopardize the continued vitality of new drug discov-                            Fig. 1. Distribution of German patent values.
ery and testing efforts Žsee e.g., Grabowski and
Vernon, 1996; Scherer, 1996..
                                                                       222 US-origin inventions, on all of which German
                                                                       patent applications were filed in 1977, leading to
2. The new evidence                                                    issued German patents considered sufficiently valu-
                                                                       able by their holders to warrant paying annual re-
    Altogether, we have assembled eight data sets,                     newal fees totalling DM 16,075 until their expiration
seven of which are new to the literature. Table 1                      at full term in 1995. These are called the ‘‘German
describes the samples and provides a simple indica-                    patents’’ and ‘‘US patents’’ in Table 1. 1 Fig. 1
tor of distribution skewness — the fraction of total                   shows the distribution of summed German patent
sample profits, royalties, or stock market value con-                  values by value class intervals, with the number of
tributed by the 10% of the sample members realizing                    patents in each value category given in parentheses
the highest absolute or relative rewards.                              above the bars. Fifty-four percent of the value is
    In the most ambitious of our efforts, we collected                 concentrated in the five inventions with values of
survey and interview evidence on 772 German- and                       DM 50 million or more.
                                                                          Our first-stage patent survey methodology asked
                                                                       company respondents to answer a single counter-
Table 1                                                                factual question, phrased as follows in the US sur-
Proportion of innovation samples’ total value realized by the most     vey.
valuable 10% of innovations
Data set                         Number of      Percent of                 If in 1980 you knew what you now know about
                                 observations   value in top 10%
                                                                           the profit history of the invention abstracted here,
German patents                   772            84                         what is the smallest amount for which you would
US patents                       222            81–85
Harvard patents                  118            84
                                                                           have been willing to sell this patent to an indepen-
Six university patents                                                     dent third party, assuming that you had a bona
   1991 royalties                350            93                         fide offer to purchase and that the buyer would
   1992 royalties                408            92                         subsequently exercise its full patent rights?
   1993 royalties                466            91.5
   1994 royalties                411            92
Venture Economics startups       383            62
                                                                       In the first-stage survey, respondents were asked to
Horseley–Keogh startups          670            59                     place each sample patent in one of five value cate-
Initial public stock offerings   110            62
ŽIPOs. — 1995 stock value
Grabowski–Vernon
                                                                          1
   1970s drugs                    98            55                          A detailed analysis is found in Harhoff et al. Ž1997.. The
   1980s drugs                    66            48                     monetary patent value estimates are linked to subsequent patent
                                                                       citations in Harhoff et al. Ž1999..
             Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 3 of 8
                               F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566                        561

gories ranging from less than DM 40,000 to more                highest concentration of value is found for the
than DM 5 million. Fifty-six on-site interviews were           patents, which tend to cover the narrowest range of
held with companies reporting patents valued at more           innovative subject matter. The fraction of total port-
than DM 5 million, making it possible to elicit more           folio value attributable to the top 10% of startup
detailed discounted profitability and invention value          business investments is quite similar for the two sets
estimates. Because selling full rights meant that the          of venture fund-backed companies and for the IPO
patent holder could be enjoined from using its inven-          companies Žwhose value gains occur at a later life
tion or forced to pay royalties reflecting the inven-          cycle stage, since venture funds typically liquidate
tion’s value, the survey responses elicited private            their positions shortly after the companies they have
value estimates Žgrouped in value class intervals.             backed float IPOs.. The least skewness is found for
corresponding most closely to the discounted present           the new drug entity samples, perhaps in part because
value of profits that would be foregone by not                 the samples include only products that had passed
having the invention and its accompanying patent               through rigorous FDA approval regimens.
protection. As such, the estimates are roughly two                 For the German patents, Harvard patents, IPOs,
orders of magnitude higher than those obtained in              and Grabowski–Vernon drug products, the data were
statistical studies of patent renewal, which implicitly        of sufficient richness that we could statistically test
assess only the value of patent protection, given              alternative distribution form hypotheses Žsee Harhoff
disclosure and non-patent barriers to imitation, not           et al., 1997; Scherer, 1998; Scherer et al., 1999.. For
the value of the invention per se, and which estimate          all five samples, the best-fitting distribution was the
the value of the presumptively most valuable full-             log normal Žsurpassing, e.g., Pareto–Levy, Weibull,
term patents only by extrapolation.                            negative exponential, and Maddala–Singh alterna-
   Two other data sets also focused on invention               tives.. The Grabowski–Vernon drug distributions,
patents, one tallying the royalties received between           with the lowest fraction of value residing in the most
1977 and 1995 on 118 patent ‘‘bundles’’ covering               valuable 10% of observations, were discernibly less
inventions made by Harvard University employees                skew than the log normal, but clearly more skew
and licensed by the Harvard Office of Technology               than alternatives such as the Weibull. This finding
Licensing, the other analogous royalties received              will be important at a subsequent stage of the argu-
during the years 1991 through 1995 on inventions               ment.
made at six research-oriented US universities. These
are called the ‘‘Harvard patents’’ and ‘‘six university
                                                               3. Implications for R & D funding agencies
patents’’ in Table 1. The ‘‘Venture Economics star-
tups’’ and ‘‘Horsley–Keogh startups’’ samples in                  Our research reveals that the lion’s share of the
Table 1 evaluated the asset value appreciation Žor             privately appropriated value through investments in
loss. experienced on a total of 1053 investments in            innovation comes from roughly 10% of the techni-
startup companies by US venture capital firms bet-             cally successful prospects. This is true for patents,
ween 1969 and 1988. The ‘‘IPOs’’ sample measures               which typically cover quite narrow slices of technol-
the appreciation of common stock values as of 1995             ogy, for discrete products Ži.e., new drug chemical
for 131 high-technology companies which made IPOs              entities., and for whole firms securing venture capi-
between 1983 and 1986. Finally, we take advantage              tal or new public issue financing. Our study of
of the data compiled and analyzed previously by                high-technology startup firms’ stock market perfor-
Grabowski and Vernon Ž1990; 1994. on the dis-                  mance over roughly 10 years reveals in addition that
counted present value of quasi-rents realized on new           it is difficult to predict in advance which of the
pharmaceutical entities marketed in the United States          prospects considered attractive enough to warrant
— 98 of them introduced during the 1970s and 66                investment will pay off most lucratively.
between 1980 and 1984.                                            A further, less fully documented, step must be
   In all cases, a relatively small number of top              taken to draw implications for technology policy, as
entities were responsible for most of the total value          implemented by governmental organizations. None
realized from the full cohort of innovations. The              of our data sets attempted to measure the social
                Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 4 of 8
562                                    F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566

returns realized through technological innovation.                      tion of financial resources to support the advance of
However, there is no reason to suppose that the size                    technology should adjust their expectations accor-
distribution of payoffs from government research                        dingly. Similarly, researchers who seek to assess the
andror development projects is qualitatively diffe-                     success of government technology programs should
rent from what we have observed for our samples of                      focus most of their effort on measuring returns from
private sector and university projects. Fragmentary                     the relatively few projects with clearly superior pay-
evidence suggests that the social returns from private                  offs, not on projects in the heavily populated low-
investments and the returns from government pro-                        value distribution tail.
jects are similarly skew-distributed. Thus, one cannot                      Our results also suggest the wisdom for techno-
reject even at the 20% confidence level the hypothe-                    logy policy in Mao Tse-Tung’s aphorism, ‘‘Let one
sis that the social rates of return calculated by Mans-                 hundred flowers bloom’’ — implemented, to be
field et al. Ž1977. on 16 private-sector innovations                    sure, with greater discrimination and consistency
were log-normally distributed. 2 Similarly, crude data                  than Chairman Mao exhibited in propagating his
on the number of combat vehicles produced follow-                       Great Leap Forward. Among other things, techno-
ing government R & D programs in the fighter air-                       logy policies that concentrate government subsidies
craft, bomber, and guided missile fields reveal a                       on a relatively few national champion enterprises
skew distribution. 3 Thus, for the inferences made in                   may fail through insufficient statistical diversity, even
the next two paragraphs, we assume that the size                        if Žas is debatable. leading firms embrace new tech-
distributions of returns from government projects                       nological opportunities as enthusiastically as their
have skewness properties similar to those we have                       smaller counterparts. 5 Rather, from our findings one
observed in our more thoroughly analyzed private                        gains enhanced appreciation of the US venture fun-
sector data sets.                                                       ding system, under which private risk capital flows
    Legislators and senior government leaders are                       each year to thousands of high-technology startup
likely to view government technology programs in                        companies in the hope that the returns from a hand-
which half the supported projects fail to yield appre-                  ful will compensate, or more than compensate, the
ciable returns and only one in 10 succeeds hand-                        investors. Most industrialized nations have been slow
somely as a rather poor track record when in fact, by                   in imitating that institution, which was almost surely
the standards of private sector markets, it is quite                    the principal basis of US success in high-technology
normal. 4 Those who are responsible for the alloca-                     industries during the past decade. 6


  2
     One negative observation was excluded, leaving 16 useable          4. The efficacy of portfolio strategies
observations, whose distribution in the logarithms had a skewness
coefficient of 0.05 and a kurtosis coefficient of 2.53. The values         All this suggests the need for both nations and
for a perfect log normal distribution would be 0 and 3.0, respec-       firms to pursue a portfolio approach to backing new
tively. For the 16 observations before logarithmic transformation,
the skewness coefficient was 1.83, which differs from normality at
                                                                        technology, recognizing that only a few of the pro-
the 0.01 significance level. Mansfield et al. Ž1977. estimated          jects supported will pay off on a large scale and
internal rates of return rather than undiscounted or discounted         hoping that generous returns from the relatively few
total returns, as in our samples. The distributions of internal rates   successes will also cover the cost of the many less
of return are intrinsically less skew than present values of absolute   successful projects. One should not, however, exag-
payoffs, calculated at conventional discount rates, because the
polynomial deflation carried out to determine internal rates of
                                                                        gerate the efficacy of portfolio strategies as a means
return tends to suppress very large values.
   3
     These estimates were made by co-author Scherer in a work
done for the US Department of Justice in opposition to a merger
                                                                          5
between Lockheed–Martin and Northrop–Grumman.                                Compare Scherer Ž1992. and Christensen Ž1997..
   4                                                                      6
     We owe this insight to Arati Prabhakar, former director of              For a comparative analysis of various leading nations’ high-
DARPA and then the US National Institute of Standards and               technology venture systems, see US National Science Board Ž1998.
Technology, from a discussion at a US Department of Defense             Žpp. 6–30–33.. For a comparison of US and German systems, see
Science Council meeting in 1993.                                        Kukies and Scherer Ž1998..
             Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 5 of 8
                                F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566                                       563

of hedging against the risks from investing in new              relatively optimistic test of the problems that attend
technologies.                                                   portfolio strategies.
   We began our research hypothesizing provision-                   Each individual quasi-rent observation in the
ally, based upon fragmentary earlier evidence, that             Grabowski–Vernon data set was replicated 10 times,
the returns from investments in new technology ad-              and the observations were stored in a Žfigurative.
hered to a Pareto–Levy distribution. Where V is the             computer urn, where their order was randomized.
value of profits from an innovation, N is the number            From supplementary data that underlay the
of cases with value V or greater, and k and a are               Grabowski–Vernon quasi-rent estimates, it was as-
positive parameters, the simplest Pareto–Levy distri-           sumed that the typical drug has a rent-earning life of
bution is characterized by the equation:                        21 years following its introduction into the market.
                                                                The rents for any given drug were assumed to be
                                                                distributed triangularly over time, with peak rent-
N Ž V . s k Vya .
                                                                earning at year 10. During the period for which the
                                                                Grabowski–Vernon data were collected, an average
The equation is linear in the logarithms, with a long           of 18 new drug chemical entities per year were
thin tail into the highest-value range of innovation            approved by the FDA and introduced into the US
profits. The Pareto–Levy distribution has the un-               market. Thus, for each year over a total of 70 years,
usual property that when a - 1, the weak law of                 18 new drugs were drawn randomly from the com-
large numbers fails to hold, so that neither the distri-        puter urn. For each drug so drawn, its quasi-rents
bution’s mean nor its variance is asymptotically fi-            were spread over 21 years. When the sampling was
nite. What this means in practical terms is that as one         completed, the quasi-rents of all drugs on the market
draws ever larger samples, there is an increasing               in any given year Ži.e., 18 drugs per year times 21
probability that some extremely large observation               years s 378 rent-earning drugs. were summed. Be-
will materialize, causing both the mean and the                 cause they included incomplete numbers of drugs,
variance to explode upward rather than converging               the totals for the first and last 20 years were deleted
toward stable values. This in turn implies that it is           from the sample, leaving quasi-rent totals for 30
difficult or impossible to achieve stable mean expec-           years, each year’s total comprising the moving sum
tations and hence hedge against risk by supporting              of 378 observations. After further randomizations,
sizeable portfolios of projects.                                the experiment was repeated over a total of seven
    Our research failed for the most part to support            complete runs.
the Paretian hypothesis, pointing instead toward log                The results are summarized in Figs. 2 and 3. For
normal distributions with better-behaved large-sam-             all years and all simulations combined, mean annual
ple properties. That is good news for the users of
portfolio strategies. However, the log normal distri-
butions we observed were themselves quite skew and
indeed hard to distinguish statistically in their ex-
treme-value tails from Paretian distributions. As such,
attempts to achieve stable mean returns through fea-
sible portfolio strategies are likely to yield at best
middling success.
    To demonstrate this point, we report on a series of
Monte Carlo experiments using the Grabowski–
Vernon quasi-rent data for 98 new drugs that cleared
FDA regulatory hurdles and were introduced into the
US market during the 1970s. The distribution of
1970s drug quasi-rents, we recall from Table 1, was
the second-to-least skew of any of the distributions
on which we obtained data, and thus it provides a                 Fig. 2. Plot of drug industry profit simulations, runs 1, 2, and 3.
                Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 6 of 8
564                                     F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566


                                                                         through portfolio strategies. 7 Thus, given skew-dis-
                                                                         tributed outcomes, appreciable risk-taking cannot be
                                                                         avoided. And in judging the innovative performance
                                                                         of individual firms, a long time perspective is essen-
                                                                         tial, since short-run returns can be dominated by
                                                                         particularly favorable or unfavorable draws from a
                                                                         skew distribution.


                                                                         5. Macroeconomic implications

                                                                            The drug quasi-rent distribution used as the basis
Fig. 3. Plot of drug industry profit simulations, runs 4, 5, 6, and 7.   for our Monte Carlo analysis was, to reiterate again,
                                                                         less skew than all but one of the distributions sum-
                                                                         marized in Table 1. For the other more skew distri-
quasi-rents amounted to US$2.07 billion. Total                           butions, one would expect even more instability of
quasi-rents varied widely from year to year, how-                        means and totals for relatively large samples — e.g.,
ever, from a minimum of US$1.55 billion Žin run 7.                       extending to the whole-industry level. This raises the
to a maximum of US$2.57 billion Žin run 5., with an                      question, might the skewness of innovation outcome
average year-to-year standard deviation of US$168                        distributions contribute instability even when the in-
million. Inspecting any given run’s quasi-rent fluc-                     dividual effects are aggregated up to the level of a
tuations without knowing that they were generated                        whole economy? In other words, might the real
by a random sampling process, one might infer that                       business cycles Žmore accurately, business fluctua-
they reveal systematic ‘‘cycles’’ quite like the cycles                  tions. to which macroeconomists have called atten-
actually observed in total US drug industry prof-                        tion be attributable in part to randomness in draws
itability. But this would be wrong. Rather, the year-                    from a skew-distributed universe of innovative op-
to-year and sample-to-sample variability is typical of                   portunities? A Monte Carlo experiment by Nordhaus
what happens when one draws relatively large sam-                        Ž1989. suggests that they may be. He postulated that
ples of individual values that are skew-distributed.                     99.99% of the tens of thousands of invention patents
    The annual quasi-rent totals presented in Figs. 2                    issued each year are worthless, but that the remain-
and 3 stem from a methodology that in effect covers                      ing 0.01% Ži.e., three to eight inventions per year.
all the new products on the US market in any given                       have high values adhering to a Pareto distribution
year over the products’ life cycles. Thus, they reflect                  with a fairly conservative a coefficient of 1.3. The
portfolio averaging at the whole pharmaceutical in-                      effects of those valuable inventions were assumed to
dustry level. Even with a skew log normal distribu-                      seep into the economy slowly but persist indefinitely.
tion, it remains true that the more observations over                    Making random draws from his Pareto distribution
which one samples, the more stable the year-to-year                      and aggregating the effects, Nordhaus simulated
averages Žor totals. are. Thus, recent mergers among                     year-to-year fluctuations in economy-wide productiv-
pharmaceutical companies, motivated in part by a                         ity growth ranging from 0.5% to 3.5% per year in a
desire to create larger portfolios spreading the risks                   seemingly cyclical pattern resembling the productiv-
of individual R & D project investments, undoubtedly                     ity growth fluctuations actually experienced by the
do reduce the year-to-year variability of outcomes.                      US economy over the years 1900 through 1988.
But even at the extreme of merging the entire indus-
try into one hypothetical firm, year-to-year standard
deviations equal to roughly 8% of industry quasi-rent                      7
                                                                              Thus, for a drug firm one-fifth the size of the total industry,
totals remain. For individual firms much smaller than                    the year-to-year standard deviation Žassuming log normality. would
the pharmaceutical industry aggregate, substantially                     be on the order of 18%; for a firm one-tenth the size of the
larger year-to-year variations cannot be escaped                         industry approximately 25%.
               Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 7 of 8
                                      F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566                          565

    We had contemplated performing a similar analy-                   simulations imposing minimal structure on the data
sis using our much richer data, but concluded that                    reveal sufficient skewness to generate macroeco-
the additional assumptions required would over-                       nomic fluctuations of appreciable magnitude.
whelm the empirical observations per se and there-                        Third, too little is known about the detailed struc-
fore that the results would be too assumption-depen-                  ture of individual innovations’ macroeconomic ef-
dent to provide reliable insights. There were three                   fects. For any given innovation value, longer lag
problem clusters.                                                     structures will produce smoother effects than short
    First, our data are uniformly for private economic                lags; Koyck-type lags will impart sharper fluctua-
values, whereas a proper macroeconomic analysis                       tions than, e.g., lag effects distributed in a bell-curve
requires the use of social returns to innovation,                     pattern over time. 10 Major innovations can generate
taking into account unappropriated benefits and other                 positive multiplier effects, and reverse causality can
externalities, not merely private returns. The transla-               also intrude as macroeconomic swings induce de-
tion from private to social returns must have large                   mand-pull effects on the supply of innovations Žsee
but poorly understood stochastic components. 8                        Schmookler, 1966.. Interactions among individual
    Second, our patented invention samples are li-                    inventions also cannot be ignored. Simulation analy-
mited to a single year’s cohort, and hence may not                    ses suggest, for example, that both complementari-
have captured the most extreme private values. And                    ties and competitive interactions among inventions
for the US sample, the survey elicited value esti-                    with Pareto-distributed individual values lead to re-
mates only for discrete categories, including an                      vised value distributions that are less skew than
open-ended category of US$100 million and more.                       Pareto.
We know from telephone interviews with respon-                            Given these difficulties, we chose not to attempt a
dents that some of the 18 estimates in the highest                    full-scale Monte Carlo analysis of macroeconomic
category were valued at more than US$1 billion, but                   implications. The most that can be said is that the
the evidence is too incomplete to support a confident                 skew distribution of innovation values could in prin-
extrapolation. Assuming the categorical data to be                    ciple lead to noticeable macroeconomic fluctuations,
Pareto-distributed and extrapolating linearly from the                and that must remain a tantalizing hypothesis for
fitted US patent size distribution to the extreme tail,               future research.
one finds the most valuable invention in our sample
to have a private value of US$90 billion Žsee Harhoff
et al., 1997.. But given the more complete evidence                   6. Conclusions
from other samples, it is unlikely that the log linear-
ity associated with a Pareto distribution persists into                  Our empirical research reveals at a high level of
the extreme tail, and so the validity of this extrapola-              confidence that the size distribution of private value
tion is dubious. 9 If one ignores that hazard, crude                  returns from individual technological innovations is
                                                                      quite skew — most likely adhering to a log normal
                                                                      law. A small minority of innovations yield the lion’s
  8
     The most relevant analysis, focusing on internal rates of        share of all innovations’ total economic value. This
return rather than absolute magnitudes, is by Mansfield et al.        implies difficulty in averting risk through portfolio
Ž1977.. The simple ŽPiersonian. correlation between their social      strategies and in assessing individual organizations’
and private rate of return estimates for 17 innovations was q0.47.    innovative track records. Assuming similar degrees
   9
     To be sure, innovations with social payoffs of that magnitude
Že.g., 3.2% of 1980 US GDP. undoubtedly exist. Probable exam-         of skewness in the returns from projects undertaken
ples include Alexander Graham Bell’s telephone, Edison’s electric     under government sponsorship, public sector pro-
light Žsee Nordhaus, 1997., the Otto internal combustion engine,      grams seeking to support major technological ad-
television, integrated circuits and microprocessors, and the Co-      vances must strive to let many flowers bloom. The
hen–Boyer gene splicing inventions Žwhose three patents are           skewness of innovative returns almost surely persists
included in our six universities sample, yielding US$75 million in
royalties from numerous non-exclusive licenses during 1991–
1994.. Most of these innovations were covered by multiple patents,
                                                                        10
some competing and some complementary.                                       See e.g., Ravenscraft and Scherer Ž1982..
               Case 3:10-cv-03561-WHA Document 739-1 Filed 02/24/12 Page 8 of 8
566                                   F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566

to add instability to the profit returns of whole                        deutscher und amerikanischer unternehmen. In: Lorenz, S.,
industries and may extend even up to the macroeco-                       Machill, M. ŽEds.., Transatlantischer Transfer von Politik,
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nomic level. Although much remains to be learned,                        233–245.
some important lessons for technology policy have                     Lanjou, J.O., Pakes, A., Putnam, J., 1996. How to count patents
begun to emerge.                                                         and value intellectual property: uses of patent renewal and
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